[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                                ORDER RE: APPORTIONMENT DEFENDANT STATE OF CONNECTICUT DEPARTMENT OF TRANSPORTATION'S MOTION TO DISMISS (# 102)
On January 23, 1998, the apportionment defendant State of Connecticut, Department of Transportation (DOT) filed its Motion to Dismiss (#102), claiming that this court lacks subject matter jurisdiction due to the application of the doctrine of sovereign immunity. The DOT was made a party to this case solely for apportionment purposes. In addition, there is presently a claim pending before the state claims commissioner.
The doctrine of sovereign immunity bars the DOT's inclusion in this lawsuit, even for apportionment purposes. Cooper v. DeltaChi Housing Corporation, 41 Conn. App. 61 (1996). The pending claim before the claims commissioner does not alter this fact, nor does it play any role in the resolution of this motion. Id., Footnote 4.
Accordingly, since the doctrine of sovereign immunity bars the inclusion of the DOT in the present litigation, the Motion to dismiss is granted.
It is so ordered.
BY THE COURT:
BISHOP, J.